
PER CURIAM.
The petition for writ of habeas corpus to secure belated review is granted. Baggett v. Wainwright, 229 So.2d 239 (Fla.1970). See also Meyer v. State, 415 So.2d 70 (Fla. 5th DCA 1982). For the reasons expressed in Meyer, we hereby certify to the Supreme Court of Florida the following questions which we deem to be of great public importance:
A. IN THE LIGHT OF THE DECISION IN POLK COUNTY v. DODSON [, - U.S. -,] 102 S.Ct. 445 [, 70 L.Ed.2d 509,] (1981), IS STATE ACTION INVOLVED IN THE FAILÚRE OF A PUBLICLY APPOINTED LAWYER TO FILE A TIMELY NOTICE OF APPEAL ON BEHALF OF THE CONVICTED DEFENDANT, SO AS TO ENTITLE THE DEFENDANT TO BELATED APPELLATE REVIEW BY PETITION FOR HABEAS CORPUS?
B. IN THE LIGHT OF THE DECISION IN POLK COUNTY v. DODSON [, __ U.S. -,] 102 S.Ct. 445 [, 70 L.Ed.2d 509,] (1981), IS STATE ACTION INVOLVED IN THE FAILURE OF A PRIVATELY RETAINED LAWYER TO FILE A TIMELY NOTICE OF APPEAL ON BEHALF OF THE CONVICTED DEFENDANT, SO AS TO ENTITLE THE DEFENDANT TO BELATED APPELLATE REVIEW BY PETITION FOR HABEAS CORPUS?
ORFINGER, C. J., and DAUKSCH and SHARP, JJ., concur.
